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 1
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      Attorney for Defendant, ADAM KHAMVONGSAY
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 6
                                            UNITED STATES DISTRICT COURT
 7
                                            EASTERN DISTRICT OF CALIFORNIA
 8

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                                                        )
     UNITED STATES OF AMERICA,                          ) CASE NO.1:11-CR-00303 AWI
11                                                      )
              Plaintiff,                                ) STIPULATION AND PROPOSED
12                                                      ) ORDER TO CONTINUE STATUS HEARING
     vs.                                                )
                                                        )
13                                                        DATE: October 7, 2013
     ADAM KHAMVONGSAY,                                  )
                                                        ) TIME: 10:00 am
14                                                      ) JUDGE: Hon. Anthony W. Ishii
              Defendant.
                                                        )
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              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18
     counsel RICHARD A. BESHWATE, JR, attorney for Defendant, and Assistant U.S. Attorney LAUREL
19
     MONTOYA, Attorney for Plaintiff, that the hearing currently scheduled for OCTOBER 7, 2013, at 10:00
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     a.m. shall be continued until OCTOBER 28, 2013, at 10:00 a.m. or to a date the Court deems appropriate.
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           This continuance is necessary so that defendant’s attorney and the AUSA can have sufficient time

 1   to conclude the necessary steps to qualify Mr. Khamvongsay for the Safety Valve.

 2            The parties stipulate that the time until the next hearing should be excluded from the calculation of

 3   time under the Speedy Trial Act. The parties stipulate that the ends of justice are served by the Court

 4   excluding such time, so that counsel for the defendant may have reasonable time necessary for effective

 5   preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). Specifically,

 6   defendant’s counsel has been unavailable due his presence in another trial. The parties stipulate and agree

 7   that the interests of justice served by granting this continuance outweigh the best interests of the public and

 8   the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 9

10   DATED: October 1, 2013

11                                                    Respectfully submitted,
                                                      /S/ Richard A. Beshwate, Jr.____________
12                                                    RICHARD A. BESHWATE, JR.
                                                      Attorney for Defendant, ADAM KHAMVONGSAY
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14   DATED: October 2, 2013

15                                                    Respectfully submitted,
                                                      /S/ Laurel Montoya
16                                                    LAUREL MONTOYA
                                                      Assistant U.S. Attorney
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18                                                     ORDER

19          IT IS HEREBY ORDERED THAT the date set for hearing be continued to OCTOBER 28,
     2013, at 10:00 a.m,
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     IT IS SO ORDERED.
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     Dated:   October 2, 2013
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     0m8i78                                             SENIOR DISTRICT JUDGE

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